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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                   8:08CR281
                      Plaintiff,               )
                                               )
                v.                             )
                                               )                       ORDER
JOSE A. ROBLEDO,                               )
                                               )
                      Defendant.               )
                                               )


        Before the court is the report and recommendation of United States Magistrate

Judge Thomas D. Thalken, Filing No. 71. No objection has been filed to the report and

recommendation. Pursuant to NECrimR 57.3 and 28 U.S.C. § 636(b)(1)(C), the court has

conducted a de novo review of the record and adopts the report and recommendation in

its entirety.

        THEREFORE, IT IS HEREBY ORDERED that:

        1.      The report and recommendation, Filing No. 71, is adopted in its entirety;

        2.      The defendant’s motions to suppress, Filing Nos. 35 & 37, are denied.

        Dated this 16th day of October, 2008.

                                              BY THE COURT:



                                              s/ Joseph F. Bataillon
                                              Chief District Judge
